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Hi Anthony!
I hope this note finds you swell and that you are having a delightful day! I have a quick question:
I am a paying member at Payne Whitney Gym who needs to follow up with one of your staff
assistants on a private matter through public channels outside the university. When I spoke to
him about three days ago he told me his name was 'Frank' but for some reason he was unable to
give me his last name to ensure accountability. More than that, when I followed up with New
Haven Police and Yale Police regarding an incident involving a personal but ill-advised decision
'Frank' decided to take while I, like other paying members, was minding my own business at the
gym, they were unable to give me his last name, a police report of the incident, and some also
refused to tell me their names as well for recording keeping purposes. The fella is about 5'2, a
Caucasian male with brown hair, abundant facial hair running from the ears and also covering his
philtrum, looked about 150-160 pounds and was dressed in all black. Can I please have his last
name and address for filing purposes? Thanks!
Best,
Habib Olapade
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